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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. PM:0

 UNITED STATES OF AMERICA
                                                                         SW
 v.
                                                              Jan 3, 2025
 -8$1&$5/26&58=025$/(6

                 Defendant.                                                WPB


 ________________________________/

                                   CRIMINAL COVER SHEET

      1. Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? NO

      2. Did this matter originate from a matter pending in the Central Region of the United States
         Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? NO

      3. Did this matter involve the participation of or consultation with now Magistrate Judge
         Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
         January 22, 2023? NO

      4. Did this matter involve the participation of or consultation now Magistrate Judge Marta
         Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
         March 5, 2024? NO



                                               Respectfully submitted,

                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY

                                       By:     /s/ Shannon Shaw
                                               SHANNON SHAW
                                               ASSISTANT UNITED STATES ATTORNEY
                                               FL Bar No. 92806
                                               500 South Australian Avenue, Suite 400
                                               West Palm Beach, Florida 33401
                                               Tel: (561) 209-1036
                                               Fax: (561) 659-4526
                                               shannon.shaw@usdoj.gov
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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the                                                   SW

                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________                                  Jan 3, 2025

                  United States of America                        )                                                       WPB
                             v.                                   )
           JUAN CARLOS CRUZ-MORALES,
                                                                  )      Case No.
                                                                  )                    25-mj-8002-WM
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 1, 2025              in the county of              Palm Beach               in the
     Southern          District of           Florida          , the defendant(s) violated:

            Code Section                                                    Offense Description
8 U.S.C. § 1326(a)                            Illegal reentry after a prior removal




         This criminal complaint is based on these facts:
Please see attached affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s
                                                                                              Compla
                                                                                                   aiin
                                                                                                      nant’s signature

                                                                                      Andy Korzen, Task Force Officer, HSI
                                                                                               Printed name and title

SXEVFULEHGDQGVZRUQWREHIRUHPHLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\WHOHSKRQH )DFHWLPH .


Date:             01/03/2025
                                                                                                 Judge’s signature

City and state:                      West Palm Beach, FL                    Hon. William Matthewman, U.S. Magistrate Judge
                                                                                               Printed name and title
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                                           AFFIDAVIT

        I, Andy Korzen, being duly sworn, depose and state as follows:

        1.      I am a Task Force Officer (TFO) with Homeland Security Investigations (HSI),

 and I am also Deportation Officer with Immigration and Customs Enforcement (ICE) and have

 been so employed for over twenty-one years. I am currently assigned to the HSI office in West

 Palm Beach, Florida. My duties and responsibilities include enforcing criminal and

 administrative immigration laws of the United States. I have also conducted and participated in

 investigations of this nature.

        2.      This affidavit is based upon my own knowledge as well as information provided

 to me by other law enforcement officers. This affidavit does not set forth every fact known to me

 regarding the investigation but only those facts necessary to establish probable cause to believe

 that Juan Carlos CRUZ-MORALES committed the offense of illegal re-entry after removal, in

 violation of Title 8, United States Code, Section 1326(a).

        3.      On or about January 1, 2025, Juan Carlos CRUZ-MORALES was arrested in

 Palm Beach County, Florida for the offense of battery. He was booked and detained at the Palm

 Beach County Jail.

        4.      A review of the immigration records shows that Juan Carlos CRUZ-MORALES

 is a native and citizen of Mexico. Records further show that on or about March 4, 2010, Juan

 Carlos CRUZ-MORALES was granted voluntary departure under safeguards. On or about March

 11, 2010, Juan Carlos CRUZ-MORALES departed the United States from Miami, Florida, and

 returned to Mexico.

        5.      Thereafter, Juan Carlos CRUZ-MORALES re-entered the United States illegally,

 and on or about August 23, 2018, was ordered removed. The Order of Removal was executed on



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 or about April 9, 2020, whereby Juan Carlos CRUZ-MORALES was removed from the United

 States and returned to Mexico again.

        6.      Records further show that on or about January 12, 2009, in the Criminal Division

 of the Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida, Juan

 Carlos CRUZ-MORALES was convicted of the felony offense of “Fleeing or Attempt to Elude

 Marked Police Car,” and the misdemeanor offense of “Driving under the Influence Enhanced.”

 See Florida state case number 2008CF017181A.

        7.      Juan Carlos CRUZ-MORALES’s fingerprints taken in connection with his

 January 1, 2025 arrest in Palm Beach County were scanned into the IAFIS system. Results

 confirmed that scanned fingerprints belong to the individual who was previously removed from

 the United States, that is, Juan Carlos CRUZ-MORALES.

        8.      A record check was performed in the Computer Linked Application Informational

 Management System to determine if Juan Carlos CRUZ-MORALES filed an application for

 permission to reapply for admission into the United States after deportation or removal. After a

 search was performed in that database system, no record was found to exist indicating that Juan

 Carlos CRUZ-MORALES obtained consent from the Attorney General of the United States or

 from the Secretary of Homeland Security, for re-admission into the United States as required by

 law.

        9.      Based on the foregoing, I submit that probable cause exists to believe that, on or

 about January 1, 2025, Juan Carlos CRUZ-MORALES, an alien who has previously been

 deported and removed from the United States, was found in the United States without having

 received the express consent from the Attorney General or the Secretary of the Department of




                                                 2
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 Homeland Security for re-admission into the United States, in violation of Title 8, United States

 Code, Section 1326(a).



                                             ________________________________
                                               __________
                                                       _____________
                                                       __
                                             Andy Korzen
                                                     Korzen
                                              Task Force Officer
                                              Homeland Security Investigations


 Sworn and Attested to me by Applicant by Telephone (Facetime) pursuant to Fed. R. Crim. P.
 4(d) and 4.1 this 3rd day of January, 2025.



                                      _____________________________________
                                      WILLIAM MATTHEWMAN
                                      UNITED STATES MAGISTRATE JUDGE




                                                3
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

 Defendant’s Name:       -8$1&$5/26&58=025$/(6

 Case No:     PM:0

 Count #1:

 Illegal Reentry after Prior Removal

 8 U.S.C. § 1326(a)
 * Max. Term of Imprisonment: 2 years
 * Mandatory Min. Term of Imprisonment (if applicable): N/A
 * Max. Supervised Release: 1 year
 * Max. Fine: $250,000 fine
 * Special Assessment: $100
 * Immigration Consequences of Removal (Deportation) from United States if Convicted
